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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Newport News Division

  PATRICIA E. MULLINEX,
  Individually and as Executor of the
  Estate of Herbert H. Mullinex, Jr.

                         Plaintiff,

  v.                                                   Case No. 4:18-cv-00033-RAJ-DEM

  JOHN CRANE, INC.,

                         Defendant.

                            PLAINTIFF’S MOTION FOR DEFAULT

         COMES NOW Plaintiff, Patricia E. Mullinex, by counsel, pursuant to Rule 55(a) of the

  Federal Rules of Civil Procedure and moves this Court to enter a default against Defendant, John

  Crane, Inc., on the basis that the record in this case demonstrates that there has been a failure to

  plead or otherwise defend, as required by this Court’s Order (see ECF 447) and Fed. R. Civ. P.

  15(a)(3). Plaintiff respectfully requests that this Court grant her motion for the reasons set forth

  in Plaintiff’s Memorandum in Support of Motion for Default and Plaintiff’s Affidavit in Support

  of Request for Entry of Default and for such other relief as the Court deems just and proper.
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        Respectfully Submitted,

        By: /s/ Hugh B. McCormick, III, Esq.
                Of Counsel

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on the 7th day of September, 2022, a true and accurate copy of the
  foregoing was filed electronically with the United States District Court for the Eastern District of
  Virginia using the CM/ECF system, which automatically sends all necessary notifications of this
  filing to the following:

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